The relief described hereinbelow is SO ORDERED

Done this 11th day of April, 2019.




William R. Sawyer
United States Bankruptcy Judge

_______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF ALABAMA

In re:
ALLEGRO LAW LLC                                             Chapter 7
    Debtor(s)                                               Case No. 10-30631



       ORDER DIRECTING PAYMENT OF FUNDS TO CLAIMANT

       Upon consideration of the Application for Payment of Unclaimed Funds filed on

March 13, 2018 (Doc. 5696), it is hereby

       ORDERED that the Clerk of the United States Bankruptcy Court is directed to

disburse $1,465.00 to the claimant as follows:


                              Sally Rauwolf
                              625 Stanley Road
                              West Point, CA 95255




                                      ###END OF ORDER###




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c:Debtor
  Debtor’s Attorney
  Chapter 7 Trustee
  U.S. Attorney
  Sally Rauwolf, 625 Stanley Road, West Point, CA 95255

Submitted by:
Janet Clark




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